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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 15-CV-80031-RYSKAMP/HOPKINS

  FRED HORENBURGER, an individual

  Plaintiff,

  v.

  FIRST CREDIT SERVICES, INC. d/b/a ACCOUNTS
  RECEIVABLE TECHNOLOGIES, INC.,

  Defendant.
  ___________________________________________/

          JOINT STIPULATION FOR ORDER OF DISMISSAL WITH PREJUDICE

          IT IS HEREBY STIPULATED by the parties to this proceeding that the action has been

  amicably settled, compromised, adjusted and discharged and that the claims against FIRST

  CREDIT SERVICES, INC. d/b/a ACCOUNTS RECEIVABLE TECHNOLOGIES, INC., filed

  by FRED HORENBURGER be dismissed with prejudice and the parties will bear their

  respective costs and attorney’s fees as outlined in the executed settlement agreement.

  Respectfully submitted,

 WITES & KAPETAN, P.A.                             GOLDEN SCAZ GAGAIN, PLLC
 Attorneys for Plaintiff                           Attorneys for Defendant
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  By: /s/ Chad J. Robinson
     MARC A. WITES                                  By: /s/ Charles J. McHale
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  filed through CM/ECF and thereby served this 31st day of August, 2015 on: Charles J. McHale,

  Esq., Liebler, Gonzalez & Portuondo, 201 North Armenia Avenue, Tampa, Florida 33609.



                                                          /s/ Chad J. Robinson
                                                          CHAD J. ROBINSON
